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                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                      TYLER DIVISION


UNITED STATES OF AMERICA                             §

v.                                                   §          CRIMINAL NO. 6:15cr71

AMBER JONES (02)                                     §

                             REPORT AND RECOMMENDATION OF
                             UNITED STATES MAGISTRATE JUDGE

         This Report and Recommendation is submitted to the Court pursuant to 28 U.S.C. § 636(b)(3).

This case has been referred by the Honorable Michael Schneider to the undersigned Magistrate Judge

for the taking of a felony guilty plea. The parties have consented to appear before a Magistrate Judge.

         The defendant and counsel appeared before the undersigned United States Magistrate Judge who

addressed the defendant personally in open Court and informed the defendant of, and determined that

the defendant understood, the admonishments under Rule 11 of the Federal Rules of Criminal

Procedure.

         Pursuant to a plea bargain agreement with the Government, Defendant pled guilty to Count One

of the Information.

         The undersigned Magistrate Judge finds the following:

1)       The defendant, with the advice of his attorney, has consented orally and in writing to enter this

guilty plea before a Magistrate Judge subject to final approval and sentencing by the presiding District

Judge;

2)       The defendant fully understands the nature of the charges and penalties;

3)       The defendant fully understands the terms of the plea agreement;

4)       The defendant understands his constitutional and statutory rights and wishes to waive these

rights, including the right to a trial by jury and the right to appear before a United States District Judge;
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5)     The defendant’s plea is made freely and voluntarily;

6)     The defendant is competent to enter this plea of guilty;

7)     There is a factual basis for this plea; and

8)     The ends of justice will be served by acceptance of the defendant’s plea of guilty.

                                          Recommendation
       .
       Accordingly, it is hereby RECOMMENDED that the District Judge accept the plea of guilty and

enter a final judgment of guilty against the defendant. It is further RECOMMENDED that the plea

agreement be approved conditioned upon a review of the presentence report.

       The parties have waived their right to object to the finding of the Magistrate Judge in this matter

so this Report and Recommendation will be presented to District Judge Michael Schneider for adoption

immediately upon issuance.
          SIGNED this 19th day of December, 2011.
        So ORDERED and SIGNED this 10th day of March, 2016.




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